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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MICHAEL S. FRYE
   MIA A. GIACOMAZZI
 3 Assistant United States Attorney
   2500 Tulare Street, Suite 4401
 4 Fresno, Ca 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                    UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                          Case No: 1:13-cr-00430 AWI BAM
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                                  Plaintiff,            ORDER AUTHORIZING THE FRESNO
13                                                      COUNTY JUVENILE JUSTICE CAMPUS TO
                                                        HOUSE MINOR WITNESS “MCKENZIE”
14                                                      THROUGHOUT TRIAL
                            v.
15                                                      Trial Date:   May 12, 2015
                                                        Time:         8:30 a.m.
16                                                      Court:        2
     MICHAEL ANDRADE and JAVIER SOLIS,
17
                                  Defendants.
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                                                    ORDER
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            Upon application of the United States for an order authorizing the Fresno County Juvenile
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     Justice Campus to house “McKenzie,” a minor, at its facility throughout trial, and good cause appearing
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     therefore,
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            IT IS HEREBY ORDERED that the Fresno County Juvenile Justice Campus is authorized to
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     take custody of “McKenzie” upon her presentation on May 7, 2015, and to house her at its facility
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     throughout the duration of trial (May 12, 2015 through May 22, 2015), or through the conclusion of her
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 1 testimony. Special Agents Chris Goodman, India Jones or Nick Pottratz are authorized to bring

 2 “McKenzie” to the facility prior to trial for admission, as well as take custody of her and return her to

 3 the Riverside County Southwest Juvenile Hall in Murrieta, California after the conclusion of her

 4 testimony or trial. Either Special Agents Goodman, Jones, or Pottratz, is authorized to take “McKenzie”

 5 from the facility to court, and return her to the facility from court, during trial. Trial is currently

 6 scheduled to commence on May 12, 2015 and end no later than May 22, 2015.

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 8 IT IS SO ORDERED.
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        Dated:     April 28, 2015                               /s/ Barbara A. McAuliffe               _
10                                                       UNITED STATES MAGISTRATE JUDGE
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